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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                  CHARLESTON DIVISION


UNITED STATES OF AMERICA,

                              Plaintiff,

v.                                                     CRIMINAL ACTION NO. 2:03-cr-187-5

LATONIA WALLACE,

                              Defendant.


                  MEMORANDUM OPINION AND JUDGMENT ORDER

       Pending before the Court is the defendant’s motion, brought pursuant to 18 U.S.C. §

3582(c)(2), to have her sentence reduced due to a subsequent reduction in the applicable sentencing

guideline. On November 1, 2007, the United States Sentencing Guidelines were amended to reduce

by two levels the guidelines in Section 2D1.1 for cocaine base (also known as crack). Subsequently,

the Sentencing Commission amended Section 1B1.10 to make the crack amendment retroactive,

effective March 3, 2008. Pursuant to a Standing Order entered on February 6, 2008, this case was

designated for Standard consideration.

       The Court has received and considered the original Presentence Investigation Report (PSI),

original Judgment and Commitment Order and Statement of Reasons, plea agreement, and

addendum to the PSI from the Probation Office, and received any materials submitted by the parties

on this issue. The Court has also considered the applicable factors under 18 U.S.C. § 3553(a),

consistent with § 3582(c)(2), and public safety.

       The original Presentence Investigation Report attributed to the defendant 431 kg of

marijuana equivalent. Her original offense conduct resulted in a base offense level of 28, and a
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criminal history category of III. The defendant’s original guideline range was 97 to 121 months.

       After being given an opportunity to address the propriety and extent of a reduction of the

defendant’s sentence, the United States has indicated that it does not object to a two-level reduction

in base offense level.

       Based on the foregoing considerations, the defendant’s motion is GRANTED. The Court

ORDERS that the defendant’s base offense level be reduced by two levels, resulting in a new total

offense level of 26, and a guideline range of 78 to 97 months. It is further ORDERED that

Defendant’s previous sentence be reduced to a period of 78 months, with credit for time served to

date pursuant to U.S.S.G. 1B1.10(b)(2)(C).

       The Court DIRECTS the Clerk to send a copy of this Order to the defendant and counsel,

the United States Attorney, the United States Probation Office, the Federal Bureau of Prisons and

the United States Marshals.

                                       ENTER:         March 25, 2008
